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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                             §      CASE NO. 25-30155
                                                     §
  ALLIANCE FARM AND RANCH, LLC,                      §      (CHAPTER 11)
                                                     §
         DEBTOR                                      §
                                                     §
  IN RE:                                             §      CASE NO. 25-31937
                                                     §
  ALLIANCE ENERGY PARTNERS,                          §      (CHAPTER 11)
  LLC,                                               §
                                                     §
         DEBTOR                                      §


        CHAPTER 11 TRUSTEE’S APPLICATION FOR ENTRY OF AN ORDER
           AUTHORIZING THE RETENTION AND EMPLOYMENT OF
           HOWLEY LAW PLLC AS CHAPTER 11 TRUSTEE COUNSEL

        THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY
       AFFECT YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD
       IMMEDIATELY CONTACT THE APPLICANT TO RESOLVE THE
       DISPUTE. IF YOU AND THE APPLICANT CANNOT AGREE, YOU MUST
       FILE A RESPONSE AND SEND A COPY TO THE APPLICANT. YOU
       MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
       DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
       WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU DO
       NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
       WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
       APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU
       MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
       OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
       HEARING AND MAY DECIDE THE APPLICATION AT THE HEARING.

       REPRESENTED            PARTIES       SHOULD        ACT      THROUGH          THEIR
       ATTORNEY.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       Tom A. Howley, the appointed Chapter 11 Trustee (the “Trustee”) for the bankruptcy

estates (the “Estates”) of the above-captioned debtors, respectfully states the following in support

of the Chapter 11 Trustee’s Application for Entry of an Order Authorizing the Retention and
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Employment of Howley Law PLLC as Chapter 11 Trustee Counsel (the “Application”). In support

of this Application, the Trustee submits the Declaration of Eric Terry, Of Counsel to Howley Law

PLLC (“Howley Law” or the “Firm”), attached hereto as Exhibit A (the “Terry Declaration”)

and in further support, the Trustee respectfully submits the following:

                                  JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). The Trustee confirms its consent, pursuant to

rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of

a final order by the Court in connection with this Application to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested herein are sections 327(a) and 328 of

title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 2014(a),

                                          BACKGROUND

       4.      On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC

(the “AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of

Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to Convert

Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [ECF No. 13]. On March 19, 2025,

the Court entered its order granting the Chapter 11 Conversion Motion. [ECF No. 24].

       5.      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC

(the “AEP Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy

case (the “AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).

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       6.      On May 12, 2025, the United States Trustee filed its Notice of Appointment of

Committee of Unsecured Creditors [ECF No. 77] appointing an official committee of unsecured

creditors of the Debtors (the “Committee”). On May 22, 2025, the Committee filed its Emergency

Motion for Appointment of Chapter 11 Trustee (the “Trustee Motion”) [ECF No. 98]. On May

23, 2025, the Court entered its order granting the Trustee Motion [ECF No. 112].

       7.      On May 27, 2025, the U.S. Trustee filed its Notice of Appointment of Chapter 11

Trustee [ECF No. 116], appointing Mr. Howley as Trustee. On May 27, 2025, the Court entered

its Order Approving United States Trustee’s Application for Order Approving Appointment of

Tom A. Howley as Chapter 11 Trustee [ECF No.117].

                          RETENTION OF HOWLEY LAW PLLC

       8.      The Trustee seeks Court approval, pursuant to Bankruptcy Code 327(a),

Bankruptcy Rule 2014(a), and Local Bankruptcy Rule 2014, to employ Howley Law as his

bankruptcy counsel in the Chapter 11 Cases. Pursuant to Local Rule 2014, the Trustee requests the

Court deem the retention of Howley Law contemporaneous with the first day that Howley Law

provided services, May 28, 2025, which is within 30 days of filing this Application.

       9.      The Trustee contemplates that Howley Law may render, without limitation, the

following legal services as counsel:

               a.   advising and consulting on the conduct of the Cases, including all of the legal
                    and administrative requirements of operating in chapter 11;

               b.   attending meetings and negotiating with representatives of creditors and other
                    parties in interest;

               c.   taking all necessary actions to protect and preserve the Estates, including
                    prosecuting actions on the Estates’ behalf, defending actions commenced
                    against the Estates, and representing the Trustee in negotiations concerning
                    litigation in which the Trustee is involved, including objections to claims filed
                    against the estate;


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               d.   preparing on behalf of the Trustee all necessary and appropriate motions,
                    pleadings, proposed orders, and other documents that are necessary in
                    connection with the Cases or the administration of the Estates, including in
                    connection with any adversary proceedings or appeals associated with the
                    Cases;

               e.   advising and representing the Trustee in connection with any sale of assets of
                    the Estates;

               f.   analyzing and, as appropriate, challenging the validity of liens against assets
                    of the Estates;

               g.   appearing before the Court and any other court to represent the interests of the
                    Estates;

               h.   formulating, drafting, and obtaining confirmation of a chapter 11 plan and all
                    documents related thereto; and

               i.   all other legal services as may be necessary or appropriate in connection with
                    representing the Trustee in the Cases.

                            HOWLEY LAW’S COMPENSATION

       10.     The Trustee understands and has agreed that Howley Law hereafter will apply to

the Court for allowances of compensation and reimbursement of expenses in accordance with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S.

Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses

Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1,

2013 (the “Fee Guidelines”), and any further orders of the Court (the “Orders”) for all professional

services performed and expenses incurred after the Petition Date.

       11.     Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, the Fee Guidelines, and the Orders, the Trustee proposes to compensate Howley Law for

services rendered at its customary hourly rates that are in effect from time to time, as set forth in

the Engagement Agreement attached hereto as Exhibit B, and to reimburse Howley Law according

to its customary reimbursement policies. The Trustee respectfully submits that Howley Law’s rates

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and policies stated in the Terry Declaration are reasonable and at or below market for similar

services provided by other professionals in this district.

                          HOWLEY LAW’S DISINTERESTEDNESS

       12.     Except as stated in the Terry Declaration, to the best of the Trustee’s knowledge,

Howley Law does not have any connection with or any interest adverse to the Debtors or their

estates or creditors, equity security holders, their respective attorneys and accountants, the U.S.

Trustee, or any party in interest in Debtors’ cases.

       13.     The lawyers and staff expected to provide services to the Trustee on behalf of the

Firm are not related to the U.S. Trustee assigned to this case, any person employed in the Office

of the U.S. Trustee, or the Bankruptcy Judge presiding over this case.

       14.     Upon information and belief, Howley Law does not represent and does not hold

any interest adverse to the Debtors’ Estates or their creditors in the matters for which Howley Law

is proposed to be retained.

       15.     Based upon the Terry Declaration, Howley Law is a “disinterested person” as that

term is defined in section 101(14) of the Bankruptcy Code. The Trustee has been informed that

Howley Law will conduct an ongoing review of its files to ensure that no disqualifying

circumstances arise. If any new relevant facts or relationships are discovered, Howley Law will

supplement its disclosure to the Court.

                                       BASIS FOR RELIEF

       16.     Section 327(a) of the Bankruptcy Code provides that with court approval, the

Debtors:

       may employ one or more attorneys, accountants, appraisers, auctioneers, or other
       professional persons, that do not hold or represent an interest adverse to the estate, and
       that are disinterested persons, to represent or assist the [Debtors] in carrying out the
       [Debtors’] duties under this title.


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       17.     Additionally, pursuant to section 328(a) of the Bankruptcy Code, the Debtors “with

the court’s approval, may . . . authorize the employment of a professional person under section 327

. . . on any reasonable terms and conditions of employment, including on an retainer, on an hourly

basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section

328(a) of the Bankruptcy Code permits compensation of professionals on flexible terms that reflect

the nature of their services and market conditions.

       18.     Furthermore, Bankruptcy Rule 2014(a) requires that an application for retention

include:

       [S]pecific facts showing the necessity for the employment, the name of the [firm] to be
       employed, the reasons for the selection, the professional services to be rendered, any
       proposed arrangement for compensation, and, to the best of the applicant’s knowledge,
       all of the [firm’s] connections with the debtor, creditors, any other party in interest, their
       respective attorneys and accountants, the U.S. trustee, or any person employed in the
       office of the U.S. trustee.

       19.     The Trustee submits that, for all the reasons stated above and in the Terry

Declaration, the retention of Howley Law as bankruptcy counsel to the Trustee is warranted and

in the best interest of the Estates. As required by Bankruptcy Rule 2014(a), the above-described

facts set forth in the Application and the information in the exhibits attached hereto set forth: (i)

the specific facts showing the necessity for Howley Law’s employment; (ii) the reasons for the

Trustee’s selection of Howley Law as bankruptcy counsel; (iii) the professional services proposed

to be provided by Howley Law; (iv) the arrangement between the Trustee and Howley Law with

respect to Howley Law’s compensation, including information on hourly fees and the

reasonableness thereof; and (v) to the best of the Trustee’s knowledge, the extent of Howley Law’s

connections, if any, to certain parties in interest in these matters. Accordingly, Howley Law’s

retention by the Trustee as bankruptcy counsel should be approved.




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                                              NOTICE

         20.    The Trustee will notice this Application to the Office of the U.S. Trustee for the

Southern District of Texas and other parties-in-interest, all as set forth in the Certificate of Service

below.

         The Trustee respectfully requests that the Court enter the Order, substantially in the form

attached hereto as Proposed Order, and grant it such other and further relief to which the Trustee

may be justly entitled.

Dated: June 16, 2025
                                                HOWLEY LAW PLLC

                                                /s/ Eric Terry
                                                Eric Terry
                                                State Bar No. 00794729
                                                HOWLEY LAW PLLC
                                                TC Energy Center
                                                700 Louisiana Street Suite 4545
                                                Houston, Texas 77002
                                                Phone: 713-333-9125
                                                Email: tom@howley-law.com
                                                Email: eric@howley-law.com

                                                Proposed Trustee Counsel




                                  CERTIFICATE OF SERVICE

        I certify that on June 16, 2025, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                 /s/ Eric Terry
                                                Eric Terry




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